7/8/20                                        UNITED STATES BANKRUPTCY COURT
                                                       District of Oregon
In re                                                           )
 James Otis Rosser                                              ) Case No. 20−31685−tmb13
                                                                ) CHAPTER 13 CONFIRMATION
Debtor(s)                                                       ) WORKSHEET

         Attorney: MICHAEL BLASKOWSKY                                    Trustee: Wayne Godare
         Present: Debtor ( ) Jt. Debtor ( ) Attorney ( )                Conf. Hrg Date/Time: 07/08/2020 09:00 AM
         Creditors In Attendance: _____________________________________________________________
_______________________________________________________________________________________________


                              x Enter Order: Denying Confirmation 14 Days to File Amended Plan




         Reason: x (3) Debtor needs to File Amended Plan



  Objecting Parties: Trustee

         Court expressed its concerns with language re: retention of tax refunds.




                                       Case 20-31685-tmb13          Doc 17      Filed 07/08/20
